          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:02CR4-6



UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                        ORDER
                         )
                         )
WILBERT NEIL NORRIS      )
                         )


      THIS MATTER is before the Court sua sponte to amend the

Judgment in a Criminal Case for Revocation of Probation or Supervised

Release, filed July 13, 2006.

      The Court ordered the Defendant to participate in the Jail Based

Treatment Program in Gaston County or McDowell County. Because the

Defendant is on supervised release and not otherwise incarcerated in

either of the jail facilities of those counties, that treatment program is

unavailable to him. Therefore, the Court will direct the Clerk to prepare an

amended judgment striking that requirement of the conditions of

supervision and amend the conditions to require the Defendant to




      Case 1:02-cr-00004-MR     Document 243     Filed 07/26/06   Page 1 of 2
                                        2

participate in a drug treatment program as recommended by his

supervising probation officer.

      IT IS, THEREFORE, ORDERED that the Clerk prepare an amended

judgment as outlined herein.


                                        Signed: July 25, 2006




      Case 1:02-cr-00004-MR      Document 243    Filed 07/26/06   Page 2 of 2
